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13
14                                   UNITED STATES DISTRICT COURT
15
                                  NORTHERN DISTRICT OF CALIFORNIA
16
17
                                                                           CASE NO. C 06-02202 JW
18                                                                         CASE NO. C 06-02369 JW
19                                                                         PLAINTIFFS RANCHO SAN JUAN
     IN RE MONTEREY REFERENDUM.
20                                                                         OPPOSITION COALITION ET AL.’S
                                                                           OPPOSITION TO PLAINTIFFS
21                                                                         RANGEL, ET AL.’S MOTION FOR
                                                                           AN INJUNCTION PENDING APPEAL
22
23
                                                                           Judge:                  Hon. James Ware
24                                                                         Ctrm:                   8
                                                                           Hrng.:                  N/A
25
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                    RSJOC’ S O PPO SITIO N TO R A N G EL ’ S M OTION FOR I N JU N CTIO N P EN D IN G A PPEA L
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 1             Plaintiffs Sabas Rangel and Maria Buell’s (“Rangel Plaintiffs”) Motion for an Injunction
 2   Pending Appeal of the Court’s March 29, 2007, Order Denying Rangel Plaintiffs’ Request for the
 3   Convening of a Three Judge Court and Granting the Rancho San Juan Opposition Coalition
 4   Plaintiffs’ Motion for Summary Judgment is a frivolous, last-ditch effort by the Rangel Plaintiffs to
 5   prevent or delay a vote on the citizen-sponsored Referendum measure that qualified for the ballot
 6   over one year ago, and which this Court ordered to be placed on the ballot for the upcoming June 5,
 7   2007, election. The Court should deny this motion as untimely and completely meritless.
 8   I.        RANGEL PLAINTIFFS’ MOTION MUST BE DENIED AS UNTIMELY BECAUSE NO
               APPEAL IS PENDING
 9
               As an initial jurisdictional matter, Rangel Plaintiffs’ instant request for an injunction pending
10
     appeal pursuant to Federal Rule of Civil Procedure 62(c) must be denied as premature. Rule 62(c)
11
     requires that an appeal must be filed from the underlying judgment before the district court may
12
     entertain a request to suspend, modify, or grant an injunction during the pendency of the appeal:
13
                       “When an appeal is taken from an interlocutory or final judgment granting,
14             dissolving, or denying an injunction, the court in its discretion may suspend, modify,
               restore, or grant an injunction during the pendency of the appeal upon such terms
15             as to bond or otherwise as it considers proper for the security of the rights of the
16             adverse party.” (Emphasis added.)

17   As confirmed by the court in Barber v. Simpson, No. 2:05-CV-2326, 2006 WL 2548189 (E.D.

18   Cal. Sept. 1, 2006), a request for a Rule 62(c) injunction is “premature” if plaintiff has not yet filed

19   an appeal to the Ninth Circuit. Id. at *4; see also McClatchy Newspapers v. Central Valley

20   Typographical Union No. 46., Int’l Typographical Union, 686 F.2d 731, 734 (9th Cir. 1982) (Rule

21   62(c) codifies the “narrowly limited right of a trial court to make orders appropriate to preserve the

22   status quo while the case is pending in (an) appellate court”) (emphasis added). Because Rangel

23   Plaintiffs have apparently not yet filed an appeal from the underlying judgment to the Ninth Circuit,

24   their request for relief under Rule 62(c) is premature and must be denied on that ground alone.

25   II.       RANGEL PLAINTIFFS’ MOTION MUST BE DENIED ON ITS MERITS BECAUSE
               PLAINTIFFS CANNOT SATISFY — AND MAKE NO EFFORT TO DEMONSTRATE THAT
26             THEY CAN SATISFY — THE STATUTORY STANDARD FOR THE EXTRAORDINARY
               RELIEF THEY SEEK
27
               Even if the Rangel Plaintiffs’ motion were not untimely, it would fail on its merits because
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 1   Rangel Plaintiffs utterly fail to demonstrate that they are entitled to the extraordinary relief they seek.
 2   Rangel Plaintiffs request that this Court completely reverse the judgment and injunction it granted
 3   requiring that the Referendum be placed on the June 5, 2007, election ballot, or alternatively, that
 4   the Court modify its injunction either to require that voters be instructed not to vote on the
 5   Referendum, or to prohibit elections officials from tabulating and publishing the election result on
 6   the measure.
 7             As Rangel Plaintiffs acknowledge in their moving papers, a party asking the court to suspend
 8   or modify an injunction pursuant to Rule 62(c) must demonstrate: (1) that there is a “strong showing”
 9   that it is likely to succeed on the merits; (2) that it will be irreparably injured in absence of such
10   relief; (3) that the requested relief will not substantially injure the other parties interested in the
11   proceeding; and (4) that the requested relief is in the public interest. See Hilton v. Braunskill, 481
12   U.S. 770, 776 (1987); see also 11 Wright & Miller, Federal Practice & Procedure § 2904 (2d ed.
13   2007). None of these factors supports granting Rangel Plaintiffs’ motion in this case.
14             First, Rangel Plaintiffs have not made any showing — much less a “strong showing” — that
15   they will likely succeed on the merits. Indeed, they do not even challenge the substantive basis for
16   this Court’s March 29, 2007, Judgment on the merits, which found that the Referendum was not
17   invalid under Section 203 of the federal Voting Rights Act (“VRA”) and therefore ordered that the
18   measure must be submitted to voters at the June election. Instead, Rangel Plaintiffs merely rehash
19   their argument that their lawsuit (but, significantly, not RSJOC’s removed action) should have been
20   directed to a three-judge court because an entirely different section of the VRA — Section 204 —
21   prescribes the convening a three-judge court in an action initiated by the United States Attorney
22   General. Rangel Plaintiffs do not address why the injunction issued by this Court in the RSJOC
23   action was in any way improper, nor do they suggest why there is any reason to believe that a three-
24   judge court would have rendered a different ruling on the merits of their Voting Rights Act claim.
25   Rangel Plaintiffs thus fail to satisfy — or even to attempt to satisfy — the critical requirement under
26   Rule 62(c) that they demonstrate a “strong showing” of a likelihood of success on the merits.
27             Similarly, even with respect to the single issue which Rangel Plaintiffs do address in their
28   motion — the necessity of convening a three-judge court for their action — they fail to demonstrate


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 1   that they are likely to succeed on appeal. This Court devoted four pages in its March 29, 2007, Order
 2   comprehensively addressing Rangel Plaintiffs’ arguments on this issue and explaining why they were
 3   not entitled to litigate their case before a three-judge court. See March 29, 2007, Order, at 7-11.
 4   Rangel Plaintiffs’ instant motion does not contain any response whatsoever to the Court’s extensive
 5   analysis or reasoning, but instead merely repeats and summarizes the arguments that they had
 6   previously made to this Court, which were rightly rejected for the reasons set forth in the Court’s
 7   Order.      Rangel Plaintiffs certainly cannot be considered to have satisfied their burden of
 8   demonstrating a likelihood of success on the merits when they have not even attempted to explain
 9   why the Court’s prior reasoning and ruling was incorrect.
10             Rangel Plaintiffs likewise cannot satisfy the other critical requirement for the relief they seek
11   under Rule 62(c): demonstrating that they will be irreparably injured in the absence of the requested
12   relief. Without making any showing that the Court’s underlying decision on the merits was
13   incorrect, Rangel Plaintiffs cannot demonstrate that they have suffered or will suffer any injury —
14   much less irreparable injury — simply because the matter was heard by a single judge rather than
15   by three judges. Nor have Rangel Plaintiffs demonstrated how they will suffer any irreparable injury
16   from allowing an election on the Referendum measure to proceed when that election will be held in
17   full compliance with the Voting Rights Act, with all materials relating to the Referendum translated
18   into Spanish. In stark contrast, RSJOC Plaintiffs would be irreparably injured if the Court were to
19   grant any of the relief requested by Rangel Plaintiffs. Such relief would significantly interfere with
20   and would essentially nullify the election on the Referendum, thereby denying RSJOC Plaintiffs and
21   the more than 15,000 registered voters of Monterey County who signed the Referendum petitions
22   their First Amendment rights to petition the government for redress of their grievances. See
23   Sammartano v. First Judicial District Court, 303 F.3d 959, 973 (9th Cir. 2002) (a denial of the First
24   Amendment rights to petition “unquestionably constitutes irreparable injury”).
25             Finally, as is confirmed by County Defendants’ Response to Rangel Plaintiffs’ Motion for
26   Injunction Pending Appeal, it is no longer possible at this late date to grant either of the first two
27   alternative forms of injunctive relief requested by Rangel Plaintiffs — to remove the Referendum
28   from the June 5, 2007, ballot or to somehow instruct voters not to cast a vote on the measure. See


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 1   County Defendants’ Response, at 2-4. Rangel Plaintiffs’ remaining alternative request for relief —
 2   to enjoin the elections officials from processing the results of the election on the measure — is
 3   similarly inappropriate. California courts have repeatedly recognized that the judiciary cannot and
 4   should not interfere with the electoral process by prohibiting votes on ballot measures from being
 5   tabulated based upon the alleged invalidity of the measure. As the California Supreme Court held,
 6   it would be “an intolerable interference with the people’s reserved legislative power to prevent the
 7   official recordation of their vote.” Kevelin v. Jordan, 62 Cal. 2d 82, 83 (1964) (emphasis added);
 8   see also Martinez v. Board of Supervisors of County of Sonoma, 23 Cal. App. 3d 679, 684 (1972)
 9   (“It is well settled that mandamus will not be issued to prevent the official recordation of the vote
10   of the people under their reserved legislative power regardless of the apparent unconstitutionality
11   of the measure, if any.”).1
12             RSJOC Plaintiffs therefore respectfully urge the Court to deny Rangel Plaintiffs’ motion in
13   its entirety.
14
15   DATE: April 11, 2007                                        Respectfully submitted,
16                                                               STRUMWASSER & WOOCHER LLP
                                                                 Fredric D. Woocher
17                                                               Michael J. Strumwasser
18                                                               Bryce A. Gee

19                                                               By                      /s/
                                                                                 Fredric D. Woocher
20
                                                                 Attorneys for Plaintiffs Rancho San Juan Opposition
21                                                               Coalition et al.
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            For these reasons, Rangel Plaintiffs also fail to satisfy the public interest factor of Rule
     62(c). Indeed, the public interest is served here by submitting the duly qualified and valid
     Referendum measure to a vote and letting the people’s voice be heard.
                                                    4
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